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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

RANA SCHMIDT, Independent        )
Administrator of the Estate of   )
Elissa A. Lindhorst, Deceased    )
                                 )
                     Plaintiff,  )
                                 )
v.                               )                     Case No. 3:21-cv-00152-SPM
                                 )
MADISON COUNTY, ILLINOIS,        )
JOHN D. LAKIN, as the Sheriff of )
Madison County, KATHY L. NODINE, )
DEPUTY HURST, DEPUTY PAULDA,     )
SGT. SARHAGE, ALISIA RUSHING,    )
DEPUTY GOODWIN,                  )
DEPUTY CALDWELL,                 )
DEPUTY DECKER, LT. FOSTER,       )
SGT. RICHERT, DEPUTY WILSON,     )
LT. COURT, SGT. BARDELMEIER,     )
REBECCA McNAUGHTON, Special      )
Representative of the Estate of  )
SGT. McNAUGHTON, DEPUTY BURDEN, )
DEPUTY WALLENDORFF,              )
DEPUTY WHITECOTTON, and          )
DEPUTY HARING,                   )
                                 )
                     Defendants. )

                       DEFENDANTS’ OBJECTIONS AND ANSWERS
                       TO PLAINTIFF’S FIRST INTERROGATORIES

       COME NOW Defendants, KATHY NODINE, DEPUTY HURST, DEPUTY PAULDA,

SGT. SARHAGE, ALISIA RUSHING, DEPUTY GOODWIN, DEPUTY DECKER, DEPUTY

CALDWELL, LT. FOSTER, SGT. RICHERT, DEPUTY WILSON, LT. COURT, SGT.

BARDELMEIER, REBECCA McNAUGHTON, Special Representative of the Estate of SGT.

McNAUGHTON,            DEPUTY        BURDEN,         DEPUTY         WALLENDORFF,            DEPUTY

WHITECOTTON, and DEPUTY HARING (“Defendants”), by and through their undersigned

attorneys, and for their Objections and Answers to Plaintiff’s First Interrogatories, state as follows:
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                                    GENERAL OBJECTIONS

       1.      Defendants object to each Interrogatory to the extent that it requires Defendants to

produce information or documents not within its possession, custody, or control.

       2.      Defendants object to each Interrogatory to the extent that it is vexatious or seeks

irrelevant information to the subject matter of this action.

       3.      Defendants object to each Interrogatory to the extent that it seeks information that

is unduly burdensome to obtain and to the extent that it is not reasonably calculated to lead to the

discovery of admissible evidence.

       4.      Defendants object to each Interrogatory to the extent that it is ambiguous, vague,

or otherwise incomprehensible.

       5.      Defendants object to each Interrogatory to the extent that it seeks an answer that is

duplicative of answers to one or more of Plaintiff’s other Interrogatories.

       6.      Defendants object to each Interrogatory to the extent that it seeks disclosures of

information that is a matter of public record, is equally available to Plaintiff, or is already in the

possession of Plaintiff.

       7.      Defendants object to each Interrogatory as overbroad and unduly burdensome to

the extent that it seeks documents that are readily available or more accessible to Plaintiff from

Plaintiff’s own files. Responding to such Interrogatories is substantially the same or less for

Plaintiff than it would be for Defendants.

       8.      Defendants object to each Interrogatory to the extent that it seeks documents or

information that is confidential, proprietary, personal, and/or commercially sensitive. Such

documents and information will not be produced until such time as an appropriate protective order

has been entered by the Court.



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       9.      Defendants object to each Interrogatory to the extent that it seeks information that

is protected from disclosure by the attorney/client privilege, the work product doctrine, the insurer-

insured privilege, or any other applicable privilege, immunity, protection, or exemption, as well as

information or documents that reveal the impressions, conclusions, opinions, legal research, or

theories of Defendants’ attorneys or their agents. No such information will be purposely provided.

No incidental or implied waiver of any such privilege or immunity is intended or should be inferred

from any of Defendants’ responses to any of Plaintiff’s Interrogatories.

       10.     Defendants object to each Interrogatory to the extent it seeks information for an

unlimited and unspecified period of time, which renders it unreasonable, unduly burdensome, and

as seeking information and documents that are wholly irrelevant and beyond the scope of

permissible discovery under the Federal Rules of Civil Procedure.

       11.     Defendants object to the extent that any Interrogatory calls for legal conclusions in

response.

       12.     Defendants submit these answers without conceding the materiality or relevance of

the subject matter of any of Plaintiff’s Interrogatories, and without any prejudice to Defendants’

right to object to further discovery or to object to the admissibility of any proof on the subject

matter of any response at the time of trial, or to correct, supplement, or clarify any of these answers.

       13.     No incidental or implied admissions are intended by or should be inferred from any

of Defendants’ answers to any of Plaintiff’s Interrogatories. Nothing in any of the answers is

intended to be or should be construed to be an admission of any of the facts assumed or asserted

by any of Plaintiff’s Interrogatories or a waiver of any objection to any of Plaintiff’s

Interrogatories.




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        14.      Defendants reserve the right to supplement these answers at such time as any

additional information requested becomes known.

        15.      Each of these General Objections is incorporated in its entirety into each of the

following answers as though separately set forth in full in each. In certain answers, Defendants

have restated a particular objection for emphasis only. In those instances where Defendants have

not restated a particular objection, or has restated some but not all of the General Objections, all

of the General Objections are intended to be and are set forth as a part of the answer to that

Interrogatory.

        16.      Defendants incorporate their Objections to Plaintiff’s First Interrogatories as if fully

set forth herein.

                                       INTERROGATORIES

        1.       With regard to every witness, please state:

                 a.     The full name, address, and telephone number of each person who
                        witnessed or claims to have witnessed any of the events, conduct, injuries,
                        or damages alleged in the complaint, and state the nature and substance of
                        their knowledge;

                 b.     The full name, address, and telephone number of each person who was
                        present or claims to have been present during any of the events, conduct,
                        injuries, or damages alleged in the complaint, your answer, and your
                        defenses, and state the nature and substance of their knowledge;

                 c.     The full name, address, and telephone number of each person who has,
                        claims to have, or is believed by you to have any knowledge of the events,
                        conduct, injuries, or damages alleged in the complaint, as well as alleged in
                        your answer and defenses, or any other facts relating to this litigation, and
                        state the nature and substance of their knowledge; and

                 d.     The full name, address, and telephone number of all persons whom you
                        intend to and/or may call as witnesses at the trial of this matter.

OBJECTION:              Defendants restate and incorporate their General Objections as if set forth
                        fully herein. Defendants also object to Interrogatory No. 1 as it seeks the
                        confidential information of a non-party. See Doe v. MacLeod, No. 3:18-
                        CV-3191, 2019 WL 2601338, at *3 (C.D. Ill. June 25, 2019); Lymon v.

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                         Chamberlain, No. 17 CV 50093, 2020 WL 6940985, at *5 (N.D. Ill. Nov.
                         24, 2020); Strode v. Venice, IL, No. 06-228 GPM, 2007 WL 294263, at *5
                         (S.D. Ill. Jan. 30, 2007); EEOC v. Autozone, No. 07-1154, 2008 WL
                         11366228, at *2 (C.D. Ill. Jan. 31, 2008). Defendants’ further object to
                         Interrogatory No. 1 as it is a premature discovery request as discovery has
                         just commenced and Defendants are not yet required to disclose expert
                         witnesses.

ANSWER:                  Subject to and without waiving the foregoing, please see below. Further,
                         Defendants answer that several pretrial detainees were housed in the same
                         cellblock as Decedent Lindhorst at the time of her death and these
                         individuals were interviewed by Illinois State Police as part of its in-custody
                         death investigation but are not included in the below listing due to personal
                         privacy issues.

 Rana Schmidt                                  Plaintiff has knowledge related to her claims in this
 Plaintiff                                     lawsuit.
 Derek Weh                                     Agent Weh was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Jerri Hochmuth                                Agent Hochmuth was involved in the in-custody
 Illinois State Police                         death investigation of Decedent Lindhorst.
 Michael Lowery                                Agent Lowery was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Maurice Austin                                Agent Austin was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Emmarie Snyder                                Agent Snyder was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Theodore Tebbe                                Agent Tebbe was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Ryan Propst                                   Agent Propst was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Josh Easton                                   Agent Easton was involved in the in-custody death
 Illinois State Police                         investigation of Decedent Lindhorst.
 Alisia Rushing                         Rushing was working on February 24, 2020 and
 Madison County Sheriff’s Office – Jail responded to Decedent Lindhorst’s cellblock.
 Infirmary

 Rushing may be contacted only through
 undersigned counsel

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 Rachelle Braun                         Braun was working on February 24, 2020 and
 Madison County Sheriff’s Office – Jail responded to Decedent Lindhorst’s cellblock.
 Infirmary

 Braun may be contacted only through
 undersigned counsel
 Valerie Bassett                        Bassett was working on February 24, 2020 and
 Madison County Sheriff’s Office – Jail responded to Decedent Lindhorst’s cellblock.
 Infirmary

 Bassett may be contacted only through
 undersigned counsel
 Kathy Nodine                           Nodine is a Defendant in this lawsuit. Nodine was
 Madison County Sheriff’s Office – Jail working on February 24, 2020. Nodine prepared a
 Officer                                report regarding her interactions with Decedent
                                        Lindhorst.
 Nodine may be contacted only through
 undersigned counsel
 Deputy Paulda                          Paulda was working on February 24, 2020. Paulda
 Madison County Sheriff’s Office – Jail prepared a report regarding her interactions with
 Officer                                Decedent Lindhorst.


 Paulda may be contacted only through
 undersigned counsel
 Michael Hare                           Hare was working on February 24, 2020. Hare
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Hare may be contacted only through
 undersigned counsel
 Deputy Goodwin                         Goodwin was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Goodwin prepared a report
 Officer                                regarding her interactions with Decedent Lindhorst.


 Goodwin may be contacted only through
 undersigned counsel




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 Arlie Foster                           Foster was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Foster prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Foster may be contacted only through
 undersigned counsel
 Sergeant Richert                       Richert was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Richert prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Richert may be contacted only through
 undersigned counsel
 Harold Wilson                          Wilson was working on February 23, 2020. Wilson
 Madison County Sheriff’s Office – Jail prepared a report regarding his interactions with
 Officer                                Decedent Lindhorst.


 Wilson may be contacted only through
 undersigned counsel
 Tony Court                             Court was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Court prepared a report
 Officer (retired)                      regarding his interactions with Decedent Lindhorst.


 Court may be contacted only through
 undersigned counsel
 Donald McNaughton                      McNaughton was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. McNaughton prepared a report
 Officer (deceased)                     regarding his interactions with Decedent Lindhorst.


 Deputy Wallendorff                     Wallendorff was working on February 22, 2020.
 Madison County Sheriff’s Office – Jail Wallendorff prepared a report regarding his
 Officer                                interactions with Decedent Lindhorst.


 Wallendorff may be contacted only
 through undersigned counsel




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 Deputy Decker                          Decker was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Decker prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Decker may be contacted only through
 undersigned counsel
 Sergeant Sarhage                       Sarhage was working on February 24, 2020.
 Madison County Sheriff’s Office – Jail Sarhage prepared a report regarding his interactions
 Officer                                with Decedent Lindhorst.


 Sarhage may be contacted only through
 undersigned counsel
 Lieutenant Dover                       Dover was working on February 24, 2020. Dover
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Dover may be contacted only through
 undersigned counsel
 Kent Griffin                           Griffin was working on February 24, 2020. Griffin
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Griffin may be contacted only through
 undersigned counsel
 Deputy Burden                          Burden was working on February 23, 2020. Burden
 Madison County Sheriff’s Office – Jail prepared a report regarding his interactions with
 Officer                                Decedent Lindhorst.


 Burden may be contacted only through
 undersigned counsel
 Deputy Caldwell                        Caldwell was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Caldwell prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Caldwell may be contacted only through
 undersigned counsel




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 Deputy Whitecotton                     Whitecotton was working on February 23, 2020.
 Madison County Sheriff’s Office – Jail Whitecotton prepared a report regarding his
 Officer                                interactions with Decedent Lindhorst.


 Whitecotton may be contacted only
 through undersigned counsel
 Deputy Schreiber                       Schreiber was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Schreiber prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Schreiber may be contacted only through
 undersigned counsel
 Thomas Schmidt                         Schmidt was working on February 24, 2020.
 Madison County Sheriff’s Office – Jail Schmidt prepared a report regarding his knowledge
 Officer                                of the incident.


 Schmidt may be contacted only through
 undersigned counsel
 Nick Bardelmeier                       Bardelmeier was working on February 22, 2020 and
 Madison County Sheriff’s Office – Jail February 23, 2020. Bardelmeier prepared a report
 Officer                                regarding his interactions with Decedent Lindhorst.


 Bardelmeier may be contacted only
 through undersigned counsel
 Deputy Miller                          Miller was working on February 24, 2020. Miller
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Miller may be contacted only through
 undersigned counsel
 Deputy Saffell                         Saffell was working at the Granite City Courtroom
 Madison County Sheriff’s Office – Jail on February 20, 2020 and was involved in the arrest
 Officer                                of Decedent Lindhorst due to a felony warrant.


 Saffell may be contacted only through
 undersigned counsel




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 Deputy Bode                            Bode was working on February 24, 2020. Bode
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Bode may be contacted only through
 undersigned counsel
 Deputy Haring                          Haring was working on February 22, 2020. Haring
 Madison County Sheriff’s Office – Jail prepared a report regarding his interactions with
 Officer                                Decedent Lindhorst.


 Haring may be contacted only through
 undersigned counsel
 Deputy Gray                            Gray was working on February 24, 2020. Gray
 Madison County Sheriff’s Office – Jail prepared a report regarding his knowledge of the
 Officer                                incident.


 Gray may be contacted only through
 undersigned counsel
 Deputy Hurst                           Hurst was working on February 21, 2020. Hurst
 Madison County Sheriff’s Office – Jail prepared a report regarding his interactions with
 Officer                                Decedent Lindhorst.


 Hurst may be contacted only through
 undersigned counsel
 Deputy Tharp                           Tharp was working on February 20, 2020. Tharp
 Madison County Sheriff’s Office – Jail prepared a report regarding his interactions with
 Officer                                Decedent Lindhorst.


 Tharp may be contacted only through
 undersigned counsel
 Dr. Norfleet                           Dr. Norfleet conducted the autopsy of Decedent
                                        Lindhorst.
 Anderson Hospital                      Decedent Lindhorst was transferred to Anderson
                                        Hospital from the Madison County Jail.
 Michael Schonlau                       Schonlau was working as a fireman and paramedic
 City of Edwardsville Fire Department   on the date of Decedent Lindhorst’s death. Schonlau
                                        was dispatched to and responded to the Madison
                                        County Jail on the date of Lindhorst’s death.



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 William Reiter                            Reiter was working as a fireman and paramedic on
 City of Edwardsville Fire Department      the date of Decedent Lindhorst’s death. Reiter was
                                           dispatched to and responded to the Madison County
                                           Jail on the date of Lindhorst’s death.
 Jason Hatcher                             Hatcher was working as a paramedic on the date of
 City of Edwardsville Fire Department      Decedent Lindhorst’s death.            Hatcher was
                                           dispatched to and responded to the Madison County
                                           Jail on the date of Lindhorst’s death.
 Cory Heuchert                             Heuchert was working as a paramedic on the date of
 City of Edwardsville Fire Department      Decedent Lindhorst’s death.            Heuchert was
                                           dispatched to and responded to the Madison County
                                           Jail on the date of Lindhorst’s death.
 Jeremy Paschall                           Paschall was working as a fireman and paramedic on
 City of Edwardsville Fire Department      the date of Decedent Lindhorst’s death. Paschall
                                           was dispatched to and responded to the Madison
                                           County Jail on the date of Lindhorst’s death.
 Andrew Rieger                             Rieger was working as a fireman and paramedic on
 City of Edwardsville Fire Department      the date of Decedent Lindhorst’s death. Rieger was
                                           dispatched to and responded to the Madison County
                                           Jail on the date of Lindhorst’s death.


       2.     For any person who provided you with information about Elissa Lindhorst and/or

to whom you provided information about Elissa Lindhorst, identify that person, the nature and

substance of the information received/provided, the date on which the information was

received/provided, and the names of all persons present when the information was

received/provided.

OBJECTION:           Defendants restate and incorporate their General Objections as if set forth
                     fully herein. Defendants’ further object to Interrogatory No. 2 as it is unduly
                     burdensome, and a compound inquiry better sought by way of deposition.
                     See Strode v. Venice, IL, No. 06-228 GPM, 2007 WL 294263, at *7 (S.D.
                     Ill. Jan. 30, 2007); Peach v. City of Kewanee, No. 05-4012, 2006 WL
                     8443111, at *3 (C.D. Ill. Oct. 23, 2006).

ANSWER:              Subject to and without waiving the foregoing, Defendants answer as
                     follows: Please see Answer to Interrogatory No. 1.




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       3.      For every occasion you observed, had contact or communicated with Elissa

Lindhorst, state the names of all persons present; the date, time and place of the observation,

contact or communication; and the nature and substance of any observation, contact, interaction

or communication had with Elissa in her presence.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. Defendants’ further object to Interrogatory No. 2 as it is unduly
                      burdensome, and a compound inquiry better sought by way of deposition.
                      See Strode v. Venice, IL, No. 06-228 GPM, 2007 WL 294263, at *7 (S.D.
                      Ill. Jan. 30, 2007); Peach v. City of Kewanee, No. 05-4012, 2006 WL
                      8443111, at *3 (C.D. Ill. Oct. 23, 2006).

ANSWER:               Subject to and without waiving the foregoing, Defendants answer as
                      follows: Please see Answer to Interrogatory No. 1.


       4.      Provide the name of any person housed with Elissa Lindhorst while she was at

Madison County Jail, and provide the dates those individuals were housed with Elissa Lindhorst,

and the current contact information for those individuals.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. Defendants also object as disclosure of the personal
                      information of the non-parties requested is a clear and unwarranted invasion
                      of their personal privacy. See Doe v. MacLeod, No. 3:18-CV-3191, 2019
                      WL 2601338, at *3 (C.D. Ill. June 25, 2019); Lymon v. Chamberlain, No.
                      17 CV 50093, 2020 WL 6940985, at *5 (N.D. Ill. Nov. 24, 2020); Strode v.
                      Venice, IL, No. 06-228 GPM, 2007 WL 294263, at *5 (S.D. Ill. Jan. 30,
                      2007); EEOC v. Autozone, No. 07-1154, 2008 WL 11366228, at *2 (C.D.
                      Ill. Jan. 31, 2008).


       5.      Provide the name of any person who you have reason to believe observed,

interacted or communicated with Elissa Lindhorst while she was at Madison County Jail, and

provide the dates those individuals observed, interacted or communicated with Elissa Lindhorst,

and the current contact information for those individuals.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. Defendants also object to Interrogatory No. 5 as it is vague

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                        and ambiguous as to the term “reason to believe” and Defendants are
                        uncertain of the specific information being requested as the discovery
                        request does not describe with reasonable particularity the information
                        being requested. See Bitler Inv. Venture II, LLC v. Marathon Ashland
                        Petroleum LLC, 2007 WL 1164970, at *6 (N.D. Ind. Apr. 18, 2007) (citing
                        Bruggerman v. Blagojevich, 219 F.R.D. 430, 436 (N.D. Ill. 2004)).
                        Defendants’ further object as disclosure of the personal information of the
                        non-parties requested is a clear and unwarranted invasion of their personal
                        privacy. See Doe v. MacLeod, No. 3:18-CV-3191, 2019 WL 2601338, at
                        *3 (C.D. Ill. June 25, 2019); Lymon v. Chamberlain, No. 17 CV 50093,
                        2020 WL 6940985, at *5 (N.D. Ill. Nov. 24, 2020); Strode v. Venice, IL,
                        No. 06-228 GPM, 2007 WL 294263, at *5 (S.D. Ill. Jan. 30, 2007); EEOC
                        v. Autozone, No. 07-1154, 2008 WL 11366228, at *2 (C.D. Ill. Jan. 31,
                        2008).

ANSWER:                 Subject to and without waiving the foregoing, Defendants answer as
                        follows: Please see Answer to Interrogatory No. 1.


        6.      Did you have a work email address in February 2020? If yes, what was that email

address (Please note that this interrogatories requests that you do not delete any emails from that

account from February 2020 to present):

ANSWER:                 Defendants answer as follows: Yes. Defendants’ email addresses will be
                        forthcoming.


        7.      With regard to every civil and/or criminal lawsuit in which you have participated

as a party, for each state:

                a.      The case number and title of case;

                b.      The name of the opposing party and their attorney;

                c.      The incident which formed the basis for the complaint and the specific
                        allegations regarding your conduct;

                d.      The status of the suit;

                e.      If resolved, the disposition.

OBJECTION:              Defendants restate and incorporate their General Objections as if set forth
                        fully herein. Defendants object to Interrogatory No. 7 on the basis that it is
                        overbroad in time and scope. Defendants further object on the grounds that

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                      Interrogatory No. 7 is unduly burdensome, and would require unreasonable
                      efforts or expenses on behalf of Defendants to determine whether there are
                      responsive information.


       8.      Do you know of any documents, objects, and/or tangible things which are not

presently within your possession or control which, if they were, would be producible pursuant to

Plaintiffs’ First Rule 34 Demand for Production of Documents and Tangible Things? If so, describe

in detail such documents, objects, and/or tangible things and indicate who (name, address, and

telephone number) is the present custodian of these items.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. In addition, Defendants object to Interrogatory No. 8 to the
                      extent it may seek documentation protected by the attorney-client privilege
                      and/or work product doctrine. Defendants also object to Interrogatory No.
                      8 as it is vague and ambiguous and Defendants are uncertain of the specific
                      information being requested as the discovery request does not describe with
                      reasonable particularity the information being requested. See Bitler Inv.
                      Venture II, LLC v. Marathon Ashland Petroleum LLC, 2007 WL 1164970,
                      at *6 (N.D. Ind. Apr. 18, 2007) (citing Bruggerman v. Blagojevich, 219
                      F.R.D. 430, 436 (N.D. Ill. 2004)).

ANSWER:               Subject to and without waiving the foregoing, Defendants answers as
                      follows: None.


       9.      State your highest level of education, the dates of each graduation after high school,

the name and address of institutions attended, the courses of study, and the number of hours credit

accumulated if no certificate or degree achieved.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. In addition, Defendants object to Interrogatory No. 9 to the
                      extent it is overbroad in time and scope, and seeks information which is
                      irrelevant, immaterial, and not reasonable calculated to lead to the discovery
                      of admissible evidence. Defendants’ further object to Interrogatory No. 9
                      as it is unduly burdensome, and a compound inquiry better sought by way
                      of deposition. See Strode v. Venice, IL, No. 06-228 GPM, 2007 WL
                      294263, at *7 (S.D. Ill. Jan. 30, 2007); Peach v. City of Kewanee, No. 05-
                      4012, 2006 WL 8443111, at *3 (C.D. Ill. Oct. 23, 2006).



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        10.   For each employment you have had since 2011, state the job title, name and address

of employer, name of immediate supervisor, length of time at the job, and each reason for leaving

the job.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. In addition, Defendants object to Interrogatory No. 10 to the
                      extent it is overbroad in time and scope, and seeks information which is
                      irrelevant, immaterial, and not reasonable calculated to lead to the discovery
                      of admissible evidence.

ANSWER:               Subject to and without waiving the foregoing, Defendants answer as
                      follows:

                          •   Defendant Nodine has been employed with the Madison County
                              Sheriff’s Office since January 3, 2006. During this time period she
                              has been employed as a Booking Clerk (Clerk III), as well as a Jail
                              Officer, which is the current position.

                          •   Defendant Hurst has been employed with the Madison County
                              Sheriff’s Office since March 3, 2014. During this time period she
                              has been employed as an Administrative Clerk, as well as a Jail
                              Officer, which is the current position.

                          •   Defendant Paulda has been employed with the Madison County
                              Sheriff’s Office since August 5, 2019. During this time period she
                              has been employed as a Jail Officer.

                          •   Defendant Sarhage has been employed with the Madison County
                              Sheriff’s Office since January 28, 2008. During this time period he
                              has been employed as a Booking Clerk, Jail Officer, Jail Sergeant,
                              and is currently employed as a Jail Lieutenant.

                          •   Defendant Rushing has been employed with the Madison County
                              Sheriff’s Office since October 3, 2011 as a Jail Nurse.

                          •   Defendant Goodwin has been employed with the Madison County
                              Sheriff’s Office since September 4, 2018. During this time period
                              he has been employed as a Jail Officer, as well as a Jail Sergeant,
                              which is the current position.

                          •   Defendant Decker has been employed with the Madison County
                              Sheriff’s Office since January 6, 2020 as a Jail Officer.

                          •   Defendant Caldwell has been employed with the Madison County

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                         Sheriff’s Office since September 18, 2017. During this time period
                         he has been employed as a Jail Officer, as well as a Jail Sergeant,
                         which is the current position.

                     •   Defendant Foster has been employed with the Madison County
                         Sheriff’s Office since July 27, 1998. During this time period he has
                         been employed as a Jail Officer, Jail Sergeant, and is currently
                         employed as a Jail Lieutenant.

                     •   Defendant Richert has been employed with the Madison County
                         Sheriff’s Office since September 1, 2006. During this time period
                         he has been employed as a Custodian, Jail Officer, and Jail Sergeant,
                         which is the current position.

                     •   Defendant Wilson has been employed with the Madison County
                         Sheriff’s Office since July 20, 2006. During this time period he has
                         been employed as a Court Security Officer, as well as a Jail Officer,
                         which is the current position.

                     •   Defendant Court began his employment with the Madison County
                         Sheriff’s Office on February 7, 2001 and is current retired. During
                         his employment he worked as a Jail Officer, Jail Sergeant, and Jail
                         Lieutenant.

                     •   Defendant Bardelmeier has been employed with the Madison
                         County Sheriff’s Office since May 1, 2013. During this time period
                         he has been employed as a Jail Officer, as well as a Jail Sergeant,
                         which is the current position.

                     •   Defendant Burden has been has been employed with the Madison
                         County Sheriff’s Office since January 1, 2018. During this time
                         period he has been employed as a Jail Officer, as well as a Jail
                         Sergeant, which is the current position.

                     •   Defendant Wallendorff has been has been employed with the
                         Madison County Sheriff’s Office since March 12, 2012. During this
                         time period she has been employed as Communications Officer, as
                         well as a Jail Officer, which is the current position.

                     •   Defendant Whitecotton has been has been employed with the
                         Madison County Sheriff’s Office since December 27, 2016. During
                         this time period he has been employed as a Jail Tech, Jail Officer,
                         and Sheriff’s Deputy, which is the current position.

                     •   Defendant Haring has been has been employed with the Madison
                         County Sheriff’s Office since August 21, 2017 as a Jail Officer.

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       11.     For each certification or license to provide human health care you have obtained,

including the most basic (such as CPR), state the name and address of the licensing agency, title

of license, and dates of issue and expiration. If any certificate or license has ever been suspended

or revoked, state the name and address of the licensing agency, title of license, dates of suspension

or revocation, and reasons therefor.

OBJECTION:             Defendants restate and incorporate their General Objections as if set forth
                       fully herein. Defendants further object to Interrogatory No. 11 to the extent
                       it is overbroad in time and scope, and is vague and ambiguous as to the term
                       “human health care” and Defendants are uncertain of the specific
                       information being requested as the discovery request does not describe with
                       reasonable particularity the information being requested. See Bitler Inv.
                       Venture II, LLC v. Marathon Ashland Petroleum LLC, 2007 WL 1164970,
                       at *6 (N.D. Ind. Apr. 18, 2007) (citing Bruggerman v. Blagojevich, 219
                       F.R.D. 430, 436 (N.D. Ill. 2004)). Defendants’ further object to
                       Interrogatory No. 11 as it is unduly burdensome, and a compound inquiry
                       better sought by way of deposition. See Strode v. Venice, IL, No. 06-228
                       GPM, 2007 WL 294263, at *7 (S.D. Ill. Jan. 30, 2007); Peach v. City of
                       Kewanee, No. 05-4012, 2006 WL 8443111, at *3 (C.D. Ill. Oct. 23, 2006).


       12.     Describe all training you have received from Madison County regarding providing

medical care to detainees and detainees experiencing medical issues, breathing issues, drug

overdose or withdrawal, including the dates of the training, who provided the training, where the

training occurred and whether any materials were presented or distributed as part of the training.

OBJECTION:             Defendants restate and incorporate their General Objections as if set forth
                       fully herein. Defendants further object to Interrogatory No. 12 to the extent
                       it is overbroad in time and scope. Defendants’ further object to
                       Interrogatory No. 12 as it is unduly burdensome, and a compound inquiry
                       better sought by way of deposition. See Strode v. Venice, IL, No. 06-228
                       GPM, 2007 WL 294263, at *7 (S.D. Ill. Jan. 30, 2007); Peach v. City of
                       Kewanee, No. 05-4012, 2006 WL 8443111, at *3 (C.D. Ill. Oct. 23, 2006).




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       13.     Describe the procedures you are to follow when encountering an individual who

appears to be in need of medical care and/or experiencing breathing issues and the source for your

understanding for these procedures.

OBJECTION:             Defendants restate and incorporate their General Objections as if set forth
                       fully herein. Defendants’ further object to Interrogatory No. 13 to the extent
                       it is overbroad in time and scope, requests irrelevant information, and is
                       vague and ambiguous. Defendants also object to Interrogatory No. 13 as it
                       begs a speculative or hypothetical answer which is improper. Kalaher v.
                       Crop Prod. Servs., No. 14-CV-1208, 2015 WL 362203, at *3 (C.D. Ill.
                       2015).


       14.     Provide the names of all your supervisors at Madison County Jail during the month

of February 2020.

ANSWER:                Defendant refers Plaintiff to the following documents:

                       •   Chain of Command diagram. See Bates No. Madison-Lindhorst-0397.


       15.     Provide the names of any and all medical staff/providers on site at Madison County

Jail during the month of February 2020 and the dates on which they were there and specify if any

of these medical staff had interactions or communications with Elissa Lindhorst or if they received

any information regarding Elissa Lindhorst.

ANSWER:                Defendant refers Plaintiff to the following documents:

                       •   Chain of Command diagram. See Bates No. Madison-Lindhorst-0397.

                       •   Time Sheets for the time period of February 20, 2020 to February 24,
                           2020. See Bates No. Madison-Lindhorst-0386-0396.



       16.     Have there ever been any detainee grievances, complaints and/or allegations made

against you in the last five years alleging failure to protect, denying medical attention, falsifying

reports and/or similar allegations? If yes, for each complaint, identify the person(s) who made the


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complaint and the conduct complained of, together with the file number, the substance of the

complaint, and the outcome.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. Defendants object to Interrogatory No. 16 on the grounds that
                      it is not reasonably calculated to lead to the discovery of relevant and/or
                      admissible evidence, and is overbroad in time and scope. Defendants
                      further object on the grounds that Interrogatory No. 16 is unduly
                      burdensome, and would require unreasonable efforts or expenses on behalf
                      of Defendants to determine whether there are responsive documentation.



       17.     Have you ever been suspended, reprimanded, or disciplined in any way, during

your employment at Madison County? If yes, for each occurrence, identify the reason given for

the suspension, reprimand, or other discipline.

OBJECTION:            Defendants restate and incorporate their General Objections as if set forth
                      fully herein. Defendants object to Interrogatory No. 17 on the grounds that
                      it is not reasonably calculated to lead to the discovery of relevant and/or
                      admissible evidence, and is overbroad in time and scope. Defendants
                      further object on the grounds that Interrogatory No. 17 is unduly
                      burdensome, and would require unreasonable efforts or expenses on behalf
                      of Defendants to determine whether there are responsive documentation.




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                                                  Respectfully submitted,

                                                  FORDHARRISON LLP

                                                  /s/ Heidi L. Eckert
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                                                  Attorney for Defendants

                              CERTIFICATE OF SERVICE
       I hereby certify that I have on August 26, 2022, served a true and correct copy of the
foregoing via email upon the following:

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                                                  /s/ Heidi L. Eckert
HLE/kds




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